                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:08CV112-02-W
                          (3:03CR220-01-W)


LAMORRIS WATSON,              )
     Petitioner,              )
                              )
       v.                     )                     ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on Petitioner’s form

“Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct

Sentence . . . ,” filed March 17, 2008.        (Doc. No. 1).      For the

reasons stated herein, Petitioner’s Motion to Vacate will be

denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on De-

cember 16, 2003, a Bill of Indictment was filed, charging that

Petitioner and five others had conspired to possess with intent

to distribute five kilograms or more of powder cocaine, 50 grams

or more of cocaine base and 100 kilograms or more of marijuana,

all in violation of 21 U.S.C. §846 (Count One).          (Case No.

3:03CR220-1-W, Doc. No. 3).     The Indictment further charged Peti-

tioner with possession with intent to distribute a quantity of

cocaine powder, in violation of 21 U.S.C. § 841 (Count Five).

(Id.)



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     Also on December 16, 2003, the Government filed a Notice,

reporting its intention to seek an enhanced penalty pursuant to

21 U.S.C. § 851.    (Case No. 3:03CR220-1-W, Doc. No. 4).           Accord-

ing to that Notice, the Petitioner previously had sustained at

least four felony drug convictions, thereby exposing him to a

statutory mandatory minimum term of life imprisonment if con-

victed of the conspiracy charge set forth in Count One.             See 21

U.S.C. §841(b)(1)(A).

     On October 26, 2004, Petitioner appeared before a magistrate

judge for his Plea and Rule 11 Hearing, during which he tendered

straight-up guilty pleas to his two charges.         On that occasion,

the Court placed Petitioner under oath and engaged him in its

standard, lengthy colloquy to ensure that his guilty pleas were

being intelligently and voluntarily tendered. (Case No.3:03CR-

220-01-W, Doc. No. 222: Plea and Rule 11 Transcript).            In

response to the Court’s numerous questions, Petitioner swore that

he had received a copy of the Indictment and had discussed that

document with counsel; and that he understood the Court’s

explanation of the charges and their elements.          (Id.).

     Of particular relevance, Petitioner said he understood, by

virtue of his three 1990 drug convictions from the Superior Court

of Gaston County and his 1994 drug conviction from this Court,

that he was facing a mandatory life sentence for the conspiracy

charge and a maximum term of 30 years for the possession charge;


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that he understood that his sentence could not be determined

until after a Pre-Sentence Report could be prepared for him; that

if he eventually was sentenced to a term which was more severe

that he had expected, or if the Court were to reject the Govern-

ment’s sentencing recommendations, he still would be bound by his

guilty pleas; that he had taken enough time to discuss possible

defenses with counsel; that he was tendering guilty pleas because

he, in fact, was guilty of the subject offenses; that no one had

made him any promises of leniency or a light sentence to induce

his guilty pleas; that no one had threatened, intimidated, or

otherwise forced him into pleading guilty; and that he was

satisfied with the services of his attorney.         (Id.).     Thus, at

the conclusion of that proceeding, the magistrate judge

conditionally accepted Petitioner’s guilty pleas.            (Case No.

3:03CR220-1-W, Doc. No. 83:     Entry and Acceptance Of Guilty Plea

form).

     On July 27, 2006, the Government filed a “Motion For A

Downward Departure U.S.S.G.     § 5K1.1 And 18 U.S.C. §3553(e).             By

that Motion, the Government asserted that, notwithstanding that

Petitioner twice had tested positive for marijuana use while on

pre-trial release and that he had admitted to other violations of

his release conditions, he also had provided substantial

assistance in the investigation and prosecution of other persons.

Further, the Government’s Motion reported that Petitioner’s


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Offense Level was 39, his Criminal History Category was VI, and

his prior drug convictions made him a Career Offender.

      However, the Motion indicated the Government’s its intention

to withdraw its § 851 Notice as to three of the four convictions

which were listed therein.       Ultimately, the Government requested

a departure from Offense Level 39 down to Offense Level 33, and

it recommended a 240-month sentence, that is, a term at the

lowest point within the adjusted range of 240 to 293 months.1

      On September 5, 2006, the Court held Petitioner’s Factual

Basis and Sentencing Hearing.        At the beginning of that Hearing,

Petitioner reaffirmed the representations which he had made

during his Plea Hearing, including his admission that he was

guilty of the charged offenses.           (Case No. 3:03CR220-1-W, Doc.

No. 224: Sentencing Transcript).           Petitioner told the Court that

he had reviewed his Pre-Sentence Report with his attorney, and he

understood its contents.       (Id.). Defense counsel stipulated that

the Report set forth an adequate factual basis to support Peti-

tioner’s guilty pleas.       (Id.). Thus, the Court unconditionally

accepted Petitioner’s guilty pleas and convicted him of the two

charges.    (Id.).

      Next, the Court noted the Report’s pre-departure calcula-

tions, and gave the Government an opportunity to explain he basis

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       Although the caption of the Government’s Motion referenced 18 U.S.C. §
3553(e), neither that Motion nor the prosecutor ever asked the Court to impose
a sentence below the statutory mandatory minimum 240-month term which became
applicable upon the Government‘s partial withdraw of its § 851 Notice.

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of its request for a departure.         The Government then explained

that its request for a departure was based upon Petitioner’s

substantial assistance; and that it was recommending a 240-month

term because that sentence struck a balance between Petitioner’s

significant involvement in the instant offenses and his coopera-

tion with the Government.

     However, defense counsel pointed out the volume and quality

of Petitioner’s cooperation, and the risk of danger to which that

cooperation had exposed Petitioner and his family.            Thereafter,

defense counsel asked the Court to consider a departure below the

20-year sentence which the Government had recommended.

     For his part, Petitioner took responsibility for his bad

choices, and explained that despite his efforts, he always had

gotten involved with drugs. Petitioner also explained that he had

done all he could to cooperate with authorities; that he had

wasted no time coming to Court to face his consequences; and that

he knew that he was “facing life.”         Petitioner further asked the

Court to consider that he had six beloved children; that he had

not had an opportunity to say goodbye to his family; and that he

had a successful, legitimate business which he was leaving

behind.

     After considering that information, the Court concurred with

the attorneys’ representations that Petitioner had done a “sub-

stantial amount of cooperation.”         However, the Court also


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explained to the defense that, based upon the facts of this case,

it lacked the authority to depart below the statutory mandatory

minimum 20-year term.      Thus, the Court granted the Government’s

Motion, and sentenced Petitioner to two vastly reduced, con-

current terms of 240 months imprisonment.

       Thereafter, Petitioner timely appealed his case to the

Fourth Circuit Court of Appeals.          On appeal, defense counsel

filed a brief pursuant to Anders v. California, 386 U.S. 738

(1967), but also asked the Court to determine whether Petitioner

had received a reasonable sentence in light of the substantial

assistance which he had rendered to the Government.               United

States v. Watson, No 06-5023, slip op. at 2 (4th Cir. June 21,

2007). Petitioner declined the opportunity to file his own

supplemental brief. Id.

       Upon its review, the Circuit Court determined that Peti-

tioner’s guilty plea was knowingly and voluntarily entered after

a thorough hearing had been conducted pursuant to Fed.R.Crim.P.

11.    Id.   The Circuit Court also determined that this Court

properly had departed -- from a mandatory life sentence down to a

range of 240 to 293 months -- based upon Petitioner’s assistance;

and that this Court had imposed the lowest possible sentences

within the properly calculated Guidelines range.               Id. at 2-3.

Consequently, the Court of Appeals concluded that there were no

meritorious issues for appeal, and it affirmed Petitioner’s


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convictions and sentences. Id. at 3.

     Now, Petitioner has returned to this Court on the instant

Motion to Vacate.    By his Motion, Petitioner argues simply that

his counsel was ineffective because: (1)he misrepresented the

facts that Petitioner’s guilty plea and his cooperation could

have allowed him to “circumvent the application of the minimum

mandatory term” which he was facing; and (2) he failed to inves-

tigate the law and advise Petitioner that the 20-year minimum

mandatory term could not be circumvented by Petitioner’s sub-

stantial assistance.    Notwithstanding Petitioner’s obvious

beliefs to the contrary, however, the Court has determined that

his two claims are defeated by the record, and the relevant legal

precedent.

                             II.   ANALYSIS

           1. This Court is authorized to promptly
              review and dismiss any § 2255 motion
              which does not contain a claim that
              entitles the petitioner to relief.

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine

motions to vacate, along with “any attached exhibits and the

record of prior proceedings . . . “ in order to determine whether

the petitioner is entitled to any relief on the claims set forth

therein.   In the event it is determined that the petitioner is

not entitled to relief, the reviewing Court must dismiss the

motion.

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        Following such directive, this Court carefully has reviewed

Petitioner’s Motion to Vacate and the pertinent record evidence.

As hereafter explained, such review clearly establishes that

Petitioner is not entitled to relief on either of his two claims.

             2.   Petitioner has failed to demonstrate-
                  that counsel was ineffective.

        With respect to claims of ineffective assistance of counsel,

Petitioner must show that counsel's performance was constitution-

ally deficient to the extent it fell below an objective standard

of reasonableness, and that he was prejudiced thereby.                Strick-

land v. Washington, 466 U.S. 668, 687-91 (1984).                In making this

determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

        Under these circumstances, Petitioner “bears the burden of

proving Strickland prejudice.”         Fields, 956 F.2d at 1297, citing

Hutchins, 724 F.2d at 1430-31.         If Petitioner fails to meet this

burden, a “reviewing court need not consider the performance

prong.”     Fields, 956 F.2d at 1290, citing Strickland, 466 U.S. at

697.

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     Moreover, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because Peti-

tioner can show that, but for counsel’s performance, the outcome

of the proceeding would have been different.         Sexton v. French,

163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855

(1999).   Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993).

     More critically, inasmuch as Petitioner has alleged ineffec-

tive assistance of counsel following the entry of his guilty

plea, he has a different burden to meet.        See Hill v. Lockhart,

474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S.

843 (1988).   The Fourth Circuit described a petitioner’s burden

in a post-guilty plea claim of ineffective assistance of counsel

as follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.            Criti-

cally, however, if a petitioner fails to meet his burden of

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demonstrating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Thus, “the central inquiry” is whether, but for counsel’s

alleged errors, this Petitioner would have insisted on a trial.

Slavek v. Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005) (sum-

marily rejecting claims of ineffectiveness on prejudice prong

based on petitioner’s failure and inability to argue that but for

alleged errors, he would have insisted on trial or entered a

different guilty plea).     Courts have stated that this inquiry is

an “objective one based on whether going to trial might reasona-

bly have resulted in a different outcome.”        Martin v. United

States, 395 F. Supp. 2d 326, 329 (D. S.C. 2005).            See also Beck

v. Angelone, 261 F.3d 377, 396 (4th Cir. 2001) (finding that in

light of overwhelming evidence of guilt and lack of available

defenses, petitioner could not establish prejudice under the

modified “reasonable probability” standard); and Burket v.

Angelone, 208 F.3d 172, 190-91 (4th Cir. 2000) (same).

     Turning back to the record, as an initial matter the Court

reiterates that during his Plea and Rule 11 Hearing, Petitioner

swore that no one had made him any promises of lenience or of a

light sentence in order to induce his guilty pleas.            Likewise,

Petitioner swore that he understood that his sentence could not

be determined until after his Pre-Sentence Report was completed.


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Therefore, on this record, Petitioner cannot establish that

counsel actually made any statements upon which he detrimentally

relied.

     Moreover, while the Court is aware that Petitioner has

asserted that but for counsel’s alleged ineffectiveness, he would

have not have pled guilty, such assertion is highly suspect in

light of the facts.    That is, Petitioner does not claim that he

was innocent of the instant offenses.       Nor has Petitioner bother-

ed to point the Court to any evidence which counsel could have

presented in order to secure an acquittal.

     On the other hand, the Government’s evidence, as summarized

in Petitioner’s Pre-Sentence Report, tended to reflect that

Petitioner was a leader/organizer of a 6-man conspiracy which

operated from October 2002 until July 2003; and that Petitioner

personally was responsible for transactions involving at least

3.9 kilograms of crack, over 1,000 kilograms of cocaine powder,

and more than 190 kilograms of marijuana.        Based upon his

criminal history and the conduct of the instant offense, had

Petitioner been convicted at trial, he would have been exposed to

a statutory minimum mandatory term of life imprisonment.            Thus,

the Court finds that it was quite reasonable for Petitioner to

have pled guilty and provided cooperation in an effort to secure

a significantly lower sentence for himself.

      Furthermore, the crux of Petitioner’s two claims -- that


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counsel misled him into believing that his cooperation could have

resulted in a sentence which was below the statutory mandatory

minimum term when no such opportunity was available to him –-

simply is erroneous.    Rather, in Melendez v. United States, 518

U.S. 120, 126-27 (1996), the U.S. Supreme Court made it clear

that district courts, in fact, have the authority to depart below

statutory minimum mandatory terms, but only when the Government

makes the proper motion authorizing such departures.           To put it

another way, the Melendez Court held that, before a district

court can impose a sentence below a statutory mandatory minimum,

the government must specifically move for such a departure.             Id.

at 129-30. See also United States v. Allen, 450 F.3d 565 (2006)

(noting that only a properly made motion under 18 U.S.C. §

3553(e), not even the intentions of the Government and the de-

fense, can give the court the authority to impose a sentence

below the statutory minimum); and United States v. Johnson, 393

F.3d 466 (4th Cir. 2004) (noting that the particular type of

motion for substantial assistance consideration determines the

type of departure a district court is authorized to make).

     Based upon the foregoing, then, defense counsel was not

ineffective for having advised Petitioner that providing substan-

tial assistance could have offered him a way to circumvent the

statutory mandatory minimum term to which he otherwise was

exposed.   Indeed, it is clear that, if the Government had


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concluded that Petitioner’s case -- i.e., his offense conduct and

his prior criminal record matched against his substantial assis-

tance – warranted a request for a sentence below his newly

calculated 20-year statutory mandatory minimum term, the Govern-

ment could have authorized this Court to consider making that

departure.    Obviously, however, the Government did not find such

a reduction to have been warranted in this case.            Ultimately,

therefore, Petitioner cannot establish either that counsel’s

advise was erroneous, or that he was prejudiced by that advice.

     Rather, this record makes it clear that based upon counsel’s

effective assistance and Petitioner’s cooperation, Petitioner

received a sentence which was far below the term to which he

would have been exposed had he gone to trial and sustained a

conviction.   Consequently, Petitioner’s claims must be flatly

rejected.

                            III.   CONCLUSION

     Petitioner has failed to establish that he is entitled to

any relief on his claims against his former attorney.             Therefore,

Rule 4(b) of the Rules Governing Section 2255 Proceedings re-

quires this Court to dismiss the instant Motion to Vacate.

                                V. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s

Motion to Vacate is DENIED and DISMISSED.




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 SO ORDERED.



                                Signed: March 25, 2008




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